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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

UNITED STATES                                     §
     Plaintiff,                                   §
                                                  §
VS.                                               §
                                                  §
                                                  §         C.A. NO. 4:14-CR-00151-Y-6
JOSE RODOLFO VILLARREAL                           §
HERNANDEZ                                         §
     Defendant.                                   §

                               NOTICE OF APPEARANCE

      COMES NOW, Defendant, JOSE RODOLFO VILLARREAL HERNANDEZ, in the

above-styled and numbered cause, and files this Notice of Appearance, and in support

thereof would respectfully show the Court as follows:

                                             I.

      Defendant hereby notifies the Court and parties that the following attorney shall

appear as attorney of record on behalf of Defendant: Nathan J. Mays, State Bar No. 24003981,

Federal No. 32789; of LAW OFFICE OF NATHAN J. MAYS, 2555 N. MacGregor Way, Houston,

Texas 77004.

      Additionally, the contact information is below and all information regarding this

matter should be address to the above attorney, as well.




                                                        [signature subsequent in next page]


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                                                      Respectfully submitted,

                                                      LAW OFFICE OF NATHAN J. MAYS

                                              By:     /s/ Nathan J. Mays
                                                      Nathan J. Mays
                                                      State Bar No. 24003981
                                                      Fed No. 32780
                                                      2555 North MacGregor
                                                      Houston, Texas 77004
                                                      Telephone: 713.630.0900
                                                      Facsimile: 713.630.0991
                                                      Email: nathanjmays@gmail.com

                                                      ATTORNEY FOR DEFENDANT


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument has been served to all
known counsel of record in accordance with the Federal Rules of Civil Procedure, on this 28th day of
February 2025.

Via eFiling
Aisha Saleem-DOJ
AUSA
1000 Louisiana, STE 300
Houston, Texas 77002
Aisha.saleem@usdoj.gov

ATTORNEY FOR DEFENDANT


                                                      /s/ Nathan J. Mays
                                                      Nathan J. Mays




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